Fill in this information to identify your case:

United States Bankruptcy Court for the:

EASTERN DISTRICT OF MICHIGAN

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Body Contour Ventures, LLC

2.   All other names debtor
     used in the last 8 years
                                  DBA LightRx
     Include any assumed          DBA LightRx Face & Body
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  34405 W. 12 Mile Road, Suite 200
                                  Farmington Hills, MI 48331
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Oakland                                                         Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       https://www.lightrx.com/


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    Body Contour Ventures, LLC                                                                   Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 8121

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                      Debtor     See Schedule 1                                                  Relationship
                                                 District                                 When                              Case number, if known




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Debtor   Body Contour Ventures, LLC                                                                Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.

                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.

                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                       50-99                                            5001-10,000                                 50,001-100,000
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




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Debtor    Body Contour Ventures, LLC                                                               Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      February 22, 2019
                                                  MM / DD / YYYY


                             X   /s/ Richard C. Morgan                                                    Richard C. Morgan
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Manager




18. Signature of attorney    X   /s/ Scott A. Wolfson                                                      Date February 22, 2019
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Scott A. Wolfson
                                 Printed name

                                 Wolfson Bolton PLLC
                                 Firm name

                                 3150 Livernois
                                 Suite 275
                                 Troy, MI 48083
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     248-247-7103                  Email address      swolfson@wolfsonbolton.com

                                 P53194 MI
                                 Bar number and State




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                                             Schedule 1

                Pending Bankruptcy Cases Filed by Debtor and Debtor’s Affiliates

       On the date hereof, each of the affiliated Debtors listed below, including the Debtor in
this Chapter 11 case, filed a voluntary petition for relief under Chapter 11 of Title 11 of the
United States Code in the United States Bankruptcy Court for the Eastern District of Michigan,
Southern Division. A motion will be filed with the Court requesting that the Chapter 11 cases of
the Debtors listed below be consolidated for procedural purposes only and jointly administered,
pursuant to Fed. R. Bankr. P. 1015(b) and E.D. Mich. LBR 1015-1, under the case number
assigned to the Chapter 11 case of Body Contour Ventures, LLC.

           #       DEBTOR                                 CASE NUMBER        JUDGE

           1       Body Contour Ventures, LLC             19-_____-___       Pending

           2       BCA Acquisitions, LLC                  19-_____-___       Pending
           3       American Aesthetic Equipment, LLC      19-_____-___       Pending

           4       Knoxville Laser Spa LLC                19-_____-___       Pending
           5       LRX Alexandria, LLC                    19-_____-___       Pending
           6       LRX Birmingham, LLC                    19-_____-___       Pending

           7       LRX Charlotte, LLC                     19-_____-___       Pending

           8       LRX Chicago, LLC                       19-_____-___       Pending

           9       LRX Colorado Springs, LLC              19-_____-___       Pending
           10      LRX Dearborn, LLC                      19-_____-___       Pending

           11      LRX East Lansing, LLC                  19-_____-___       Pending
           12      LRX Grand Blanc, LLC                   19-_____-___       Pending

           13      LRX Hoffman Estates, LLC               19-_____-___       Pending

           14      LRX Las Vegas Summerlin, LLC           19-_____-___       Pending
           15      LRX Mesa, LLC                          19-_____-___       Pending

           16      LRX Naperville, LLC                    19-_____-___       Pending

           17      LRX Novi, LLC                          19-_____-___       Pending

           18      LRX Orland Park, LLC                   19-_____-___       Pending

           19      LRX Plymouth-Canton, LLC               19-_____-___       Pending

           20      LRX Stone Oak, LLC                     19-_____-___       Pending
           21      LRX Towson, LLC                        19-_____-___       Pending



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           #       DEBTOR                                  CASE NUMBER        JUDGE

           22      LRX Troy, LLC                           19-_____-___       Pending

           23      Premier Laser Spa of Greenville LLC     19-_____-___       Pending
           24      Premier Laser Spa of Indianapolis LLC   19-_____-___       Pending

           25      Premier Laser Spa of Louisville LLC     19-_____-___       Pending

           26      Premier Laser Spa of Pittsburgh LLC     19-_____-___       Pending

           27      Premier Laser Spa of St. Louis LLC      19-_____-___       Pending

           28      Premier Laser Spa of Virginia LLC       19-_____-___       Pending




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                                                               United States Bankruptcy Court
                                                                     Eastern District of Michigan
 In re      Body Contour Ventures, LLC                                                                                Case No.
                                                                                    Debtor(s)                         Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder
 Chaoju International, LLC                                           Units            900                                        Membership
 1116 Los Trancos Rd.
 Portola Valley, CA 94028

 Fedor Fedorov                                                       Units            875                                        Membership
 1975 Tiverton Rd.
 Bloomfield Hills, MI 48304

 Jeff S. Pierce, D.O.                                                Units            3000                                       Membership
 1819 E. Big Beaver, Suite 210
 Troy, MI 48083

 Richard C. Morgan, Trustee of                                       Units            3525                                       Membership
 the Richard C. Morgan Living Trust U/A/D
 February 8, 2006 as amended and restated
 34405 W. 12 Mile Road, Suite 200
 Farmington Hills, MI 48331

 VPS Investments, LLC                                                Units            1000                                       Membership
 9760 Fellows Hill Court
 Plymouth, MI 48170

 ZLM Investments, LLC                                                Units            700                                        Membership
 6001 Savoy Dr.
 Ste. 100
 Houston, TX 77036-3322


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Manager of the corporation named as the debtor in this case, declare under penalty of perjury that I have read
the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



 Date February 22, 2019                                                      Signature /s/ Richard C. Morgan
                                                                                            Richard C. Morgan

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy



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                                                                     Eastern District of Michigan
 In re      Body Contour Ventures, LLC                                                                  Case No.
                                                                                  Debtor(s)             Chapter    11




                                               VERIFICATION OF CREDITOR MATRIX


I, the Manager of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




 Date:       February 22, 2019                                         /s/ Richard C. Morgan
                                                                       Richard C. Morgan/Manager
                                                                       Signer/Title




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100 Spruce Partners, LLC
201 Fillmore Street, Suite 201
Denver, CO 80206




20 & 25 Waterway Holdings, LLC
The Woodlands Development Company
1790 Hughes Landing Blvd., Suite 600
The Woodlands, TX 77380




68 Middlesex Turnpike LLC
200 Summit Drive, Ste 400
Burlington, MA 01803




89 Valley Medical Equites, LLC
24 Church Street
Montclair, NJ 07042




ABC Fire Extinguisher Co., Inc.
4641 Peoples Road
Pittsburgh, PA 15237




Ace ImageWear
735 Liberty
Beaumont, TX 77701




ADM & NS Group, LLC
29870 Middlebelt Rd.
Farmington Hills, MI 48334




ADS Mechanical, LLC
PO Box 14264
Madison, WI 53708




Advanced Disposal Solid Waste Midwest, LLC
Solid Waste Midwest, LLC - A2
PO Box 473
Waunakee, WI 53597




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Air Handlers Mechanical Services Inc
920 Ventures Way, Ste 2
Chesapeake, VA 23320




Ala S. Shuker, M.D
6553 Claremore Ct.
West Bloomfield, MI 48322




Alankar, Sara
6144 Gage Street
Roesmont, IL 60018




Alix Partners
2000 Town Center, Suite 2400
Southfield, MI 48075




Allergan USA, Inc.
12975 Collections Center Dr.
Chicago, IL 60693




Alpine Investor Group LLC
1116 Los Trancos
Portola Valley, CA 94028




Amber Bormann
641 N Pleasant View Rd, #251
Middleton, WI 53562




Ameren Missouri
PO Box 88068
Chicago, IL 60680-1068




American Electric Power




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PO Box 24418
Canton, OH 44701-4418




American Water
P O Box 371880
Pittsburgh, PA 15250-7880




AmeriPride Linen & Uniform Services
PO Box 1564
Bemidji, MN 56619




AmeriPride Services Inc
PO Box 189
Bemidji, MN 56619-0189




AmReit Uptown Houston, LP
Dept. #2617
P.O Box 536856
Atlanta, GA 30353




Ana Maria Uribe Prieto
c/o Toppins Law Firm P.C.
1225 North Loop West, Suite 825
Houston, TX 77008


Ana Maria Prieto Cadrecha
c/o Toppins Law Firm, P.C.
1225 North Loop West, Ste. 825
Houston, TX 77008




Andrew Heyman MD MHSA
39070 John Mosby Highway
Aldle, VA 20105




Angelica Rodriquez
6255 Frisco Square Blvd
#3219
Frisco, TX 75034




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Applied Imaging
7718 Solution Center
Chicago, IL 60677-7007




Aqua Filter Fresh Inc.
1 Commerce Drive
Pittsburgh, PA 15239




Arbor Oakland Group
PO Box 674196
Detroit, MI 48267




Arizona Department of Revenue
PO Box 29010
Phoenix, AZ 85038-9010




Artistic Tree & Landscape Creations
4545 Gibsonia Road
Gibsonia, PA 15044




AT&T
P.O Box 5014
Carol Stream, IL 60197




ATC Investors, LP
PO Box 301501
Dallas, TX 75303




ATT 245 Marketplace, LLC
1790 East River Road, Suite 310
Tucson, AZ 85718




Austin Cedar Park Village, LP
C/O Weitzman




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PO Box 671434
Dallas, TX 75267-1434




B&G LRX, LLC
5330 River Ridge Dr.
Brigton, MI 48116




Baltimore County, Maryland
Office of Budget & Finance
400 Washington Ave, Room 152
Towson, MD 21204-4665




Barry Dibernardo, MD
551 Valley Road, Suite 551
Upper Montclair, NJ 07043




BCAL 101 North Brand Property LLC
600 West Broadway, 27th Floor
San Diego, CA 92101




BeneTrac
LockBox #100906
PO Box 100906
Pasadena, CA 91189




Bennett Contracting Inc
693 South Pearl St
Albany, NY 12202




Best Dedicated Solutions, LLC
P.O. Box 6327
Libertyville, IL 60048




BGE
PO Box 13070
Philadelphia, PA 19101-3070




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Bing Adbill
Lockbox 847543
1950 N Stemmons Fwy, ste 5010
Dallas, TX 75207




Birmingham Locksmith Services, Inc
33945 Woodward Ave
Birmingham, MI 48009




Blue Tower Technical Inc.
1099 Jay Street
Building F, 2nd Floor
Rochester, NY 14611




BNR Group, LLC
42524 Hayes Rd., Ste. 600
Clinton Township, MI 48038




Bob Hamilton Plumbing+Heating+A/C+Rooter
7899 Frontage Road
Overland Park, KS 66204




Boyle Investment Co.
2000 Meriidan Blvd, Ste 250
Franklin, TN 37067




Branch Tates Creek Associates, LLC
PO Box 30139
Tampa, FL 33630




BRE RC Alamo Ranch TX PL
P.O. Box 845660
Los Angeles, CA 90084




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Bright House Networks
PO Box 30574
Tampa, FL 33630-3574




Brittany Adkins
2121 Nicholasville Rd
#404
Lexington, KY 40503




Brixeno Health Clinic-Marcela Riojas, DO
1423 Rock Dove Rd.
San Antonio, TX 78260




Brothers Plumbing, Air & Electric, LLC
3620 Pelham Rd
Greenville, SC 29615




Buffalo Grove LRX Holding, LLC
ATT: Stev Alexandrowski, CFP
261 South Main Street
Plymouth, MI 48170




Business Jet Managers, Inc.
824 West Willow Run Airport
Ypsilanti, MI 48198




Camelback Moving Inc.
2330 N. 31st Ave.
Phoenix, AZ 85009




Capella 1 NL LLC
PO Box 1450
Columbua, OH 43216




Car Trucking, Inc
34636 Kelly Road
Clinton Twp., MI 48035




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Carolina Lock & Access Control LLC
5010 Crestland Ave
Charlotte, NC 28269




Carvalho, Maril
97 Ferry St.
Apt 32
Evertt, MA 02149




CBS5
PO Box 100067
Pasadena, CA 91189-0067




Cecile Kwekam
6843 Greenway Chase St
Houston, TX 77072




Central Medical Wellness, PLLC
393 N. Dunlap St.
Saint Paul, MN




Century Link
PO Box 91155
Seattle, WA 98111-9255




Chaoju International, LLC
1116 Los Trancos Rd.
Portola Valley, CA 94028




Charter Communications
PO Box 790086
Saint Louis, MO 63179-0086




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Cheryl Mauro
1401 Apple Orchard Ln
Wolverine Lake, MI 48390




Chris Reinhardt
1184 Big Bend
Ballwin, MO 63021




Chrysler Capital
PO Box 660647
Dallas, TX 75266-0644




City of Birmingham
PO Box 671732
Detroit, MI 48267-1732




City of Brighton
Department 3061
PO Box 30516
Lansing, MI 48909




City of Brookfield
2000 N. Calhoun Rd.
Brookfield, WI 53005




City of Ft Worth
PO Box 961018
Fort Worth, TX 76161




City of Grand Blanc
203 E Grand Blanc Rd
Grand Blanc, MI 48439




City of Livonia
Treasurer's Office
33000 Civic Center Drive
Livonia, MI 48154




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City of Rochester Hills
P.O Box 94593
Cleveland, OH 44101




City of Virginia Beach
Treasurer
2401 Courthouse Dr.
Virginia Beach, VA 23456




ClarityMulti Inc.
PO Box 13553
La Jolla , CA 92039-3553




Classic Building Co.
P.O. Box 530565
Livonia, MI 48153




Clean Uniform Company
P.O. Box 840140
Kansas City, MO 64184-0140




College Hunks Hauling Junk
4123 Terminal Drive
Mc Farland, WI 53558




Colorado Springs Utilities
P.O Box 340
Colorado Springs, CO 80901




Comcast
PO Box 7500
Southeastern, PA 19398-7500




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ComEd
PO Box 6111
Carol Stream, IL 60197




Community Lock & Safe
18500 Yorba Linda Blvd
Yorba Linda, CA 92886




Conn, Sindy
4232 Payne Loehler Rd
New Albany, IN 47150




Consumers Energy
P.O Box 740309
Cincinnati, OH 45274




Corbin Block One, LLC
605 West 47th Street, Ste 200
Kansas City, MO 64112




Corporations Division
PO Box 30768
Lansing, MI 48909




Countrywood DST
Bldg. #51563
P.O Box 936039
Atlanta, GA 31193-6039




Covered Wagon Moving
16801 Radholma Court, Suite G
Round Rock, TX 78664




Cox Communications
Dept 781121
PO Box 78000
Detroit, MI 48278-1121




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CR River Square, LLC
PO Box 734201
Chicago, IL 60676




CSHV Springhurst, LLC
25924 Network Place
Chicago, IL 60673-1259




CTCA Prof Corp of AZ
6897 Paysphere Circle
Chicago, IL 60674




Culligan
Department 8515
P O Box 77043
Minneapolis, MN 55480-7743




Cumulus Colorado Springs
3662 Momentum Place
Chicago, IL 60689




Cynosure
5 Carlisle Rd
Westford, MA 01886




Dakota Electric
PO Box 64427
St. Paul, MN 55164




Dariela Monrreal
12841 Western Ave
Blue Island, IL 60443




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Dearborn National Life Insurance Company
36788 Eagle Way
Chicago, IL 60678




Dependable Fire Equipment
100 North Le Baron Street
Waukegan, IL 60085




Derby Shopps South LLC
PO Box 408
Hingham, MA 02043




Digestive Health Assoc
30055 Northwestern Hwy, Ste 250
Farmington Hills, MI 48334




Dixon & MacDonald, P.C.
24901 Northwestern Hwy., Ste. 200
Southfield, MI 48075




Domestic Uniform Rental
4131 N Ravenswood
Chicago, IL 60613




Domestic Uniform Rental- Belleville
PO Box 38
Belleville, NJ 07109




Domestic Uniform Rental-Philadelphia
4100 Frankford Ave
Philadelphia, PA 19124




Dominion Energy
PO Box 45841
Salt Lake City, UT 84139-0001




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Doran MGC I, LLC
7803 Glenroy Road, Suite 200
Bloomfington, MN 55439




Downriver Plastics Inc.
8349 Ronda Dr.
Canton, MI 48187




Dr. Anna Mkrtchyan
Arizona LRX Services PC
1151 W. Chicago Street
Chandler, AZ 85224




Dr. James Loging
1391 Peninsula Drive
Prosperity, SC 29127




DR. PRP USA LLC
5703 Horseshoe Falls
Missouri City, TX 77459




Duffey, Petrosky & Company LLC
38505 Country Club Drive Ste 110
Farmington Hills, MI 48331




Duke Energy
PO BOX 70516
Charlotte, NC 28272-0516




EastWest Partners, LLC
38 Camino Katia
San Clemente, CA 92672




EcoElite Pest Control
6610 - B Royal St.




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Pleasant Valley, MO 64068




Edward Naylon
5426 Tildens Grove
Windermere, FL 34786




Elevating You, LLC
28007 Sand Canyon Rd.
Santa Clarita, CA 91387




Emily Bonanno
32 Staffords Crossings
Slingerlands, NY 12159




Entercom Denver Kalc-FM
4700 South Syracuse Street
Suite 1050
Denver, CO 80237




Entercom Rochester WBEE-FM
70 Commercial Street
Rochester, NY 14614




Entergy
PO Box 8104
Baton Rouge, LA 70891




Esquire Moving & Storage, Inc.
23 Aberdeen Street
Boston, MA 02115




Eversource
Attn: Security Deposits
247 Station Drive, NW210A
Westwood, MA 02090




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Facebook, Inc.
15161 Collection Center Drive
Chicago, IL 60693




Fairfax Corner Retail L.C
PO Box 601305
Charlotte, NC 28260




Farrell Brothers, Inc.
6 Simmons Lane
Albany, NY 12204




Federated Media
2915 Maples Rd.
Fort Wayne, IN 46816




FedEx
P.O Box 371461
Pittsburgh, PA 15250




Ferioli, Miriam
12224 Howey Cross Rd
Clermont, FL 234715




Fish Window Cleaning
PO BOX 7906
Tempe, AZ 85281




Flame Furnace Company
2200 Eleven Mile Road
Warren, MI 48091




Fortier, Richard
10401 Jayne Valley Ln
Fenton, MI 48430




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Frances Pierce Trust
30600 Telegraph Road, Suite 1131
Bingham Farms, MI 48025




Frantz, Inc.
852 Floyd Drive,
Lexington, KY 40505




Frontier
PO Box 740407
Cincinnati, OH 45274




Fuller Center LLC
P.O Box 38175
Colorado Springs, CO 80937




Furong Li
Turtle Beach, Levera Nature & Beach Resort
St. Patrick, Grenada West Indies




George B. Ford Agency Inc
39500 High Pointe Blvd Ste 400
Novi, MI 48373




Gilbert Mechanical Contractors
5251 West 74th Street
Edina, MN 55439




Gloucester Partners, LLC
ATT: Linda Cohn
124 South Georges Hill Rd.
Southbury, CT 06488




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Goodman Management, LLC
636 Old York Road, 2nd floor
Jenkintown, PA 19046




Google Inc.
Dept. 33654
P.O Box 39000
San Francisco, CA 94139




GP Retail I, LLC
299 Milwaukee Street, Suite 500
Denver, CO 80206




Grande Cosmetics, LLC
180 South Broadway
Suite 403
White Plains, NY 10605




Grange Insurance Company of Michign
PO Box 88017
Chicago, IL 60680-1017




Greenspring Retail, LLC
c/o Obrecht Properities LLC
9475 Deereco Road, #200
Timonium, MD 21093




Greenwood-Emerson LLC
666 Dundee Road, Suite 901
Northbrook, IL 60062-2735




Handyman Matters
101 E College Ave Suite 2C
Columbus, OH 43240




HC Shoppes 18 A, LLC
c/o GDA Real Estate Managment, Inc.




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5690 DTC Blvd., Suite 515
Greenwood Village, CO 80111




Henry Schein
Dept CH 10241
Palatine, IL 60055-0241




Hingham Municipal Lighting Plant
31 Bare Cove Park Dr.
Hingham, MA 02043




Home Air Services
12288 Wilkins Avenue Ste. E
Rockville, MD 20833




ICAT Logistics, Inc.
6805 Douglas Legum Dr
Elkridge, MD 21075



Ignacio Francisco Uribe Prieto
c/o Toppins Law Firm, P.C.
1225 North Loop West, Ste. 825
Houston, TX 77008



IHeartMedia
5588 Collection Center Drive
Chicago, IL 60693




IJS & MP Enterprise AZ, LLC
20870 Middlebelt Rd.
Farmington Hills, MI 48334




Imaan Mohammad
13500 Greencastle Ridge Terrace
Apt 204
Burtonsville, MD 20866




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INDEP II LLC
1340 N. Great Neck Road
Suite 1272-354
Virginia Beach, VA 23454-2268




Indiana Pest Management
PO Box 6464
Kokomo, IN 46904




Indianco, LLC
2332 Cotner Ave., Suite 301
Los Angeles, CA 90064




InMart Group Limited
27260 Haggety Rd., Ste, A-14
Farmington Hills, MI 48331




Interstate Express Denver
4201 Oneida St.
Denver, CO 80216




IRC Retail Centers Management, Inc.
P.O Box 6334
Carol Stream, IL 60197-6334




Isis Gibson
18131 Keeler St
Detroit, MI 48223




J. King Services
3005 Nassaur Dr.
Vero Beach, FL 32960




Jaffe Raitte Heuer & Weiss
PO BOX 5034
Southfield, MI 48086




    19-42510-pjs    Doc 1    Filed 02/22/19   Entered 02/22/19 20:15:26   Page 28 of 49
Jan Marini Skin Research, Inc.
5883 Rue Ferrari
San Jose, CA 95138




Jennifer Daigneault
165 Storm Hill Road
Johnsonville, NY 12094




Jennifer Harris
45 W. 300S Apt 204
Bountiful, UT 84010




Jim Roberts
221 1oth Pl North
Edmonds, WA 98020




Jimenez, Ramon
1413 Avleigh Cir.
Orlando, FL 32824




Joel Rivera
3025 Settelrs Parkway
Elgin, IL 60124




Joplimo Mattress
PO Box 416
Carthage, MO 64836




Julia Dynek
121 Washington Avenue South, #403
Minneapolis, MN 55401




Julieth Chacon




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8647 Braxed Lane
Monassas, VA 20110




KALV-FM
ATTN: Carly Yerman
P.O Box 730824
Dallas, TX 75373




Kansas Counselors, Inc.
PO Box 14765
Shawnee Mission, KS 66285-4765




Karen Hollenbeck
1989 Summerfield Dr
Castle Rock, CO 80104




KBM Consultants, Inc.
25 Elderberry Rd
Syosset, NY 11791




Keith Wadle
3577 Piccadilly Dr.
Rochester Hills, MI 48309




Kemerick
521 Girard
Royal Oak, MI 48073




Ken's Window Cleaning, Inc.
PO Box 463
East Schodack, NY 12063




Kevin Stockmaster
12516 Covington Manors Farms Rd.
Fort Wayne, IN 46814




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Khatib, Rania
409 Lambeth Dr. Apt. 12
Charlotte, NC 28213




KIMN Denver
3355 Lenox Road NE, Ste 945
Atlanta, GA 30326




Knapp's Corner Shops, LLC
1971 E. Beltline Ave NE, STE 240
Grand Rapids, MI 49525




KNXV
PO Box 116923
Atlanta, GA 30368-6923




Kolb Electric, Inc.
5901 Blair Road, NW
Washington, DC 20011




Kool-FM
PO Box 730824
Dallas, TX 75373




KSE Radio Ventures LLC
ATTN: Meghan Walters
720 South Colorado Blvd.
North Denver, CO 80246




KU a PPL Company
PO Box 9001954
Louisville, KY 40290-1954




KZPT-FM
ATTN: Allison Besse




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7000 Squibb Rd. 2nd Floor
Mission, KS 66202




Laurel Mortgage Investors, LLC
31390 Northwestern Hwy., Suite A
Farmington Hills, MI 48334




LCFRE Sugar Land Town Square, LLC
15958 City Walk Ste 250
Sugar Land, TX 77479




Legacy Place Properties LLC
400 Atlantic Avenue
Boston, MA 02110




Lenoir City Utilities Board
PO Box 449
Lenoir City, TN 37771-0449




LG&E
PO Box 9001960
Louisville, KY 40290-1960




Lifit Health
430 West Collins Avenue
Orange, CA 92867




Linehan, Michael
72 East Jefferson Rd.
Pittsford, NY 14534




Liveyon Glendale LLC
7700 Irvine Center Drive, St800
Irvine, CA 92618




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L-Nutra, Inc.
8322 Beverly Blvd, Ste 202
Los Angeles, CA 90048




LRX Capital, LLC
1905 Grove Street
Denver, CO 80204




LRX Sims, LLC/Rob Sims
20830 Normandy Ct.
Northville, MI 48167




LRX-CJG Investor, LLC
14695 Berwick
Livonia, MI 48154




LRX-JJB Investor, LLC
44121 Fair Oaks Dr.
Canton, MI 48187




LTR Investments, LLC
6726 Spring Creek
Plymouth, MI 48170




Mach 1
1530 W Broadway Rd
Tempe, AZ 85282




Madison Gas and Electric
PO Box 1231
Madison, WI 53701-1231


Mana Rama Tirth
c/o Brooks Wilkins Sharkey & Turco
401 S. Old Woodward Ave.,
Ste. 400
Birmingham, MI 48009




    19-42510-pjs     Doc 1   Filed 02/22/19   Entered 02/22/19 20:15:26   Page 33 of 49
Maple Grove Investor, LLC
38505 Country Club Dr.
Farmington Hills, MI 48331



Maria Isabel Uribe Prieto
c/o Toppins Law Firm, P.C.
1225 North Loop West, Ste. 825
Houston, TX 77008



Mark Cates Builder, LLC
3320 B Blumie Street
Austin, TX 78745




Massachusetts Corporations Division
One Ashburton Place, Room 1717
Boston, MA 02108




McClain's Home Repair LLC
4204 Creek Hill Lane
Corinth, TX 76208




McKesson Medical Surgical
PO Box 634404
Cincinnati, OH 45263-4404




Meade-Hall, Nichole
9617 Oakbrooke Lane
Howell, MI 48114




MedPro
PO Box 5683
Carol Stream, IL 60197




Memphis Light Gas and Water DIvision
PO Box 388
Memphis, TN 38145-0388




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Merz North America
PO Box 912073
Denver, CO 80291-2073




Middle Tennessee Electric
PO BOX 330008
Murfreesboro, TN 37133




Milagros Rivera, MD
2 Kelsall Lane
Savannah, GA 31411




Minnesota Locks
1254 South Robert Street
West St. Paul, MN 55118




Missouri American Water
PO Box 94551
Palatine, IL 60094-4551




Model Linen Supply
P.O Box 1669
Ogden, UT 84402




MPJ Ventures
289 Smith Road
Pittsford, NY 14534




Naperville Investments, LLC
54838 Glen Oaks
Shelby Township, MI 48315


Natalja Macuka
3101 South Ocean Drive, Apt. 2208
Hollywood, FL 33019




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National Grid
PO Box 11735
Newark, NJ 07101




NEC Preston Gaylord, LTD
5729 Lebanon Rd.
Ste 144 -356
Frisco, TX 75034




Netwolves Network Services LLC
PO Box 826923
Philadelphia, PA 19182




Newton, Maria Elena
3007 Lasses Blvd
San Antonio, TX 78223




Nicole Cloven
1265 South Aaron
Mesa, AZ 85209




Nipsco
P.O. Box 13007
Merrillville, IN 46411-3007




NLT Properties, LLC
PO Box 10
Scottsdale, AZ 85252




Norfolk Air Heating & Cooling
7914 Glade Road
Norfolk, VA 23518




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Northwood Court Eagan, LLC
5353 Wayzta Blvd, Suite #650
Minneapolis, MN 55416




Obalon
5421 Avenida Encinas, Suite F
Carlsbad, CA 92008




OneSource Communications
4800 Keller Hicks Rd.
Fort Worth, TX 76244




Overland Building B, LLC
41623 Margarita Road Suite#100
Temecula, CA 92591




Owens, Katherine
629 Zion School Rd
Easley, SC 29642




Painter, Stephanie Dee
201 Thornwood Dr.
Taylors, SC 29687




Patrick King
6193 Castlegate Drive West #2114
Castle Rock, CO 80108




Paychex
Lockbox #732954
PO Box 732954
Dallas, TX 75373-2954




Penn Power
PO Box 3687
Akron, OH 44309-3687




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PEPCO
PO Box 13608
Philadelphia, PA 19101




Piedmont Natural Gas
PO Box 660920
Dallas, TX 75266




Plaza Office Realty II, LLC
Lockbox #5857
PO Box 8500
Philadelphia, PA 19178




Precision Waste Solutions, LLC
PO Box 18856
Shreveport, LA 71138




Prudential Overall Supply
PO Box 11210
Santa Ana, CA 92711




PSP Summerlin, LLC
30600 Telegraph Rd., Suite 1131
Bingham Farms, MI 48025




Qararah, Smly
10963 Ashston Lane
Orland Park, IL 60467




Rasmussen, Angela
3236 W. Lonecactus Dr.
Phoenix, AZ 85027




Ready Refresh




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A Division of Nestle Waters N.A. Inc
PO Box 856192
Louisville, KY 40285-6192




Regency Bressi, LLC
2321 Rosecrans Avenue, Suite 4225
El Segundo, CA 90245




Rehmann Robson
Saginaw Office
5800 Gratiot Rd., Ste 201
Saginaw, MI 48605-2025




RG&E
P O Box 847813
Boston, MA 02284-7813




Richard McBride, MD
9024 Carnegie Way
Knoxville, TN 37922




Rid a Pest
4615 N. Shadeland Ave.
Indianapolis, IN 46226




Rochford, Jill
5607 Green Circle Drive, #216
Hopkins, MN 55343




Rodriguez, Paty
1406 Cottage SW
Vienna, VA 22180




Rosanna Matyastik
103 Betty Drive
Rose City, TX 75189




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Rudisova, Lucia
1 Whitwick Court
Parkville 21234




Ryco Management LLC
1173 Pittsford-Victor Road
Suite 140
Pittsford, NY 14534




Santana, Kazzandra
4585 Winewood Village Drive
Colorado Springs, CO 80917




Sasha Guy
1705 Owens Rd,
Oxon Hills, MD 20745




SBT-VPS Holdings, LLC
9760 Fellow Hills Court
Plymouth, MI 48170




Schindlbeck, Teresa
9815 Lance Drive
Frisco, TX 75035




Scottsdale Crossing, LLC
P.O Box 516542
Los Angeles, CA 90051-0595




Sealey, Laci
7974 Janna Lee Ave, Apt 103
Alexandria, VA 22306




Sentry Fire & Safety




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1294 South Inca
Denver, CO 80223




Sharps Compliance, Inc.
PO Box 679502
Dallas, TX 75267-9502




Signarama
AMC Designs LLC
854 High Ridge rd
Stamfrd, CT 06905




Sitex Corporation
P.O. Box 38
Henderson, KY 42419




Smith Handyman Service, LLC
230 Silo Drive
Lenoir City, TN 37772




Sobellaskin, LLC
34405 W. 12 Mile Road
Suite 200
Farmington Hills, MI 48331




Special Events Managment
2221 W. 43rd Street
Chicago, IL 60609




SRP - Camelback
PO Box 80062
Prescott, AZ 86304




Star 2 Star Communications LLC
PO Box 97231
Las Vegas, NV 89193-7231




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State of California
Franchise Tax Board
PO Box 942857
Sacramento, CA 94257-0540




State of Indiana
Indiana Department of Revenue
P.O. Box 40
Indianapolis, IN 46206-0040




State Of Michigan
7064 Crowner Drive
Lansing, MI 48980




Statewide Electric LLC
175 S. Hamilton Pl.
Bldg. 1, Ste. 101
Gilbert, AZ 85233




STL Pro Turf & Pro Pest Solutions, LLC
P O Box1156
Raymore, MO 64083




Suburban Natural Gas Company
PO Box 183035
Columbus, OH 43218-3035




Sugar Tree Square, LLC
31731 Northwestern Hwy, Suite 250W
Farmington HIlls, MI 48334




Sure Fire Protection
8200 East Pacific Place # 404
Denver, CO 80231




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Tate Pappas Apartment Investors, LLC
4777 Sharon Rd. Ste 550
Charlotte, NC 28210




Taylor Hibbler
328 Waldo Street
Rockford, IL 61102




Teleradiology Specialist, LLC
PO Box 205869
Dallas, TX 75320




Texas Gas Service
PO Box 219913
Kansas City, MO 64121




The Broadmar Company, LLC
277 Martine Avenue
White Plains, NY 10601




The Entrust Group, Inc fbo Franca Tiano
44315 Plymouth Oaks Blvd
Plymouth, MI 48170




The Firm Facility Services
13911 Ridgedale Drive, Ste 165
Minnetonka, MN 55305




The Lauren L. Reager Trust
2001 Wilshire Boulecard, Suite 210
Santa Monica, CA 90403




Time Warner Cable
Box 223085
Pittsburgh, PA 15251-2085




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Time Warner Cable
PO Box 70872
Charlotte, NC 28272-0872




TKG Meridian Towne Centre, LLC
211 North Stadium Blvd, Suite 201
Columbia, MO 65203




Tony Zanlungo Promotions, LLC
23622 Stonehenge Blvd.
Novi, MI 48375




Torkkola, Stacie
900 W Aspen Way
Gilbert, AZ 85233




Town Greenville, LLC
PO Box 2266
Greenville, SC 29602




Townsquare Media Lansing
27141 Network Place
Chicago, IL 60673




Treasurer, City of Virginia Beach
2401 Courthouse Dr.
Virginia Beach, VA 23456




Tritex Services
PO BOX 962
Trenton, GA 30752




Unitel Leasing
2065 Franklin Rd.




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Bloomfield Hills, MI 48302




UPS
Lockbox 577
Carol Stream, IL 60132




Utah State Tax Commission
210 N 1950 W
Salt Lake City, UT 84134-0400




Valassis Direct Mail, Inc
90469 Collection Center Drive
Chicago, IL 60693




Venus Concepts
255 Consumers Road, Suite 110
Toronto, ON M2J 1R4




Verizon Wireless
P.O Box 15062
Albany, NY 12212




Vincent Giampapa, MD Consulting
320 German Valley Road
Canadensis, PA 18325




Virginia Natural Gas
PO Box 5409
Carol Sream, IL 60197-5409




Virtual Health Partners
106 E 19th Street
New York, NY 10003




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VPS Investments, LLC
9760 Fellows Hill Court
Plymouth, MI 48170




Wage Works, Inc.
1100 Park Place, 4th Floor
San Mateo, CA 94403




Ward Contracting LLC
6215 Via La Cantera # 113
San Antonio, TX 78256




Washington, Sherese
13806 Heywood Court
Apple Valley, MN 55124




Water Tower LLC
SDS-12-3035
PO Box 86
Minneapolis, MN 55486-3035




WCYQ Knoxville
ATTN: Erin Massman
P.O Box 203569
Dallas, TX 75320




WE Energies
PO Box 90001
Milwaukee, WI 53290




Weingarten Realty Investors
PO Box 301074
Dallas, TX 75303-1074




Wesminister Fire
150 Airport Drive, Unit 10
Westminister, MD 21157




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West View Water Authority
PO Box 747107
Pittsburgh, PA 15274-7105




White Flint Plaza, LLC
PO Box 741615
Atlanta, GA 30374-1614




Whitestone Towne Center, LLC
Department #234
P.O Box 4869
Houston, TX 77210-4869




Willner Properties
150 Allendale Rd.
King of Prussia, PA 19406




Winners Group Ltd.
8975 S. Pecos Rd.
Henderson, NV 89074




WKBD 50 of Detroit
21722 Network Place
Chicago, IL 60673-1722




WNOW-FM
ATTN: Craig McIntyre
PO Box 603441
Charlotte, NC 28260




Woodward Retail L.L.C
PO Box 250004
West Bloomfield, MI 48325




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W-PT Prairie Stone VII, L.L.C.
28053 Network Place
Chicago, IL 60673




WWJ-TV
21252 Network Place
Chicago, IL 60673-1252




WXYZ
PO Box 643405
Cincinnati, OH 45264-3405




Xcel Energy
PO Box 9477
Minneapolis, MN 55484-9477




Yext Inc.
1 Madison Avenue, 5th Floor
New York, NY 10010




ZELTIQ Aesthetics, Inc.
4410 Rosewood Drive
Pleasanton, CA 94588




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                                                               United States Bankruptcy Court
                                                                     Eastern District of Michigan
 In re      Body Contour Ventures, LLC                                                                   Case No.
                                                                                 Debtor(s)               Chapter    11



           STATEMENT REGARDING AUTHORITY TO SIGN AND FILE PETITION
        I, Richard C. Morgan, declare under penalty of perjury that I am the Manager of Body Contour Ventures, LLC,
and that the following is a true and correct copy of the resolutions adopted by the Manager of said corporation:

          "IT IS RESOLVED that, in the judgment of the Manager, in light of the current circumstances of the Company,
it is in the best interests of the Company to file a petition for relief under Chapter 11 of Title 11 of the United States Code
in the United States Bankruptcy Court for the Eastern District of Michigan;

         IT IS FURTHER RESOLVED that the Company and its Manager, Richard C. Morgan, are authorized and
directed to take any and all necessary steps to effect these resolutions, including but not limited to executing a petition for
relief under Chapter 11 and any and all related documents, including but not limited to voluntary petitions, schedules,
statements of financial affairs, applications and petitions for Bankruptcy Court approval and other relief, plans of
reorganization, plans for disposition of the Company’s assets, and pleadings in adversary proceedings;

        IT IS FURTHER RESOLVED that the Company and its Manager, Richard C. Morgan, are authorized to do
and perform all acts and deeds necessary and to execute and deliver all necessary documents on behalf of the Company in
connection with such bankruptcy case;

        IT IS FURTHER RESOLVED that Richard C. Morgan is authorized and directed to appear on behalf of the
Company in all bankruptcy proceedings and to otherwise perform all acts and deeds necessary and to execute and deliver
all necessary documents on behalf of the Company in connection with such bankruptcy case;

          IT IS FURTHER RESOLVED that the Company is authorized and directed to employ Wolfson Bolton PLLC as
its legal counsel to represent the Company in its Chapter 11 proceeding;

       IT IS FURTHER RESOLVED that all actions lawfully taken or to be taken by the Company or its Manager,
Richard C. Morgan, in connection with the implementation of these resolutions are hereby in all respects ratified,
confirmed, and approved."


 Date      February 22, 2019                                                   Signed   /s/ Richard C. Morgan
                                                                                        Richard C. Morgan




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